                          IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA                  :
                                          :         CRIMINAL ACTION
                 v.                       :
                                          :         No. 24-cr-00288-MSG
PHILLIP C. PULLEY                         :
1241 Welsh Road                           :
Huntingdon Valley, PA 19006               :
                                    NOTICE OF HEARING

       Take notice that the defendant is scheduled for an Arraignment / Guilty Plea Hearing
on Thursday, September 12, 2024 at 11:00 a.m. before the Honorable Mitchell S. Goldberg
in Courtroom 17A of the United States District Court, 601 Market Street, Philadelphia, PA
19106.

☐ Detained Federal Inmate: The U.S. Marshal shall have the defendant present for this court
proceeding.
☐ Bail Status: The defendant is on bail. A Court Security Officer shall be assigned to this
proceeding.

☒ Court Summons: This Notice serves as a summons to appear in court. If the defendant
is on bail or supervision and fails to appear as directed, the presiding judge may issue a
bench warrant.

☐ Interpreter: A           interpreter will be required for the defendant.

☐ Hearing rescheduled from:

For additional information, please contact the undersigned.

By:              Sheila McCurry, Courtroom Deputy to the Honorable Mitchell S. Goldberg
                 Phone: 267-299-7400

Date:            August 29, 2024

cc via U.S. Mail:       Defendant
cc via email:           Defense Counsel -Brian McMonagle
                        Assistant U.S. Attorney – Mark Dubnoff and Nancy Potts
                        U.S. Marshal
                        Court Security
                        Probation Office
                        Pretrial Services
                        Interpreter Coordinator


crnotice (July 2021)
